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SETTLEMENT AGREEMENT

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Pursuant io the mediation conference held on this the iy, } day of

hp Mf , 2016 the parties have agreed to the following terms:

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DATED at Pensacola, Florida, this ys day of floc i| , 2016.

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Plaintiff Defen AY
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Mediator # 15343R
